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                           TRACY CHAPMAN
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                       8
                                                     UNITED STATES DISTRICT COURT
                       9
                                                CENTRAL DISTRICT OF CALIFORNIA
                      10
                      11
                           TRACY CHAPMAN,                        No. 2:18-cv-9088
                      12
                                        Plaintiff,
                      13                                         COMPLAINT AND
                                 vs.                             DEMAND FOR JURY TRIAL
                      14
                           ONIKA TANYA MARAJ p/k/a
                      15   NICKI MINAJ and DOES 1-10,
                      16                Defendants.
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M ANATT , P HELPS &
  P HILLIPS , LLP                                                                         COMPLAINT AND
  ATTO RNEY S AT LAW                                                                DEMAND FOR JURY TRIAL
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                       1          Plaintiff Tracy Chapman (“Chapman”) alleges as follows:
                       2                                  Nature Of The Action
                       3          1.     Chapman brings this copyright infringement action to address the
                       4   willful infringement by Onika Tanya Maraj p/k/a Nicki Minaj (“Maraj”) and Does
                       5   1-10 (collectively, “Defendants”) of Chapman’s exclusive copyright in and to her
                       6   well-known musical composition Baby Can I Hold You (the “Composition”).
                       7          2.     Beginning in June 2018, Maraj and her representatives and/or agents
                       8   made multiple requests to license the Composition for use in Maraj’s recording
                       9   (featuring Nas), Sorry (the “Infringing Work”), which, on information and belief,
                      10   Maraj had already made without the requested license for inclusion on her recently
                      11   released album, Queen.
                      12          3.     Chapman, through her own agents and representatives, repeatedly
                      13   denied Maraj’s after-the-fact requests to use the Composition. Notwithstanding
                      14   those denials, Maraj, on information and belief, provided a copy of the Infringing
                      15   Work to Aston George Taylor, Jr. p/k/a Funkmaster Flex (“Taylor”), a well-known
                      16   disc jockey at the popular New York City radio station HOT 97, who then teased
                      17   the Infringing Work on his Twitter and Instagram accounts, stating that Maraj had
                      18   given him something “ft @nas” that is “not on her [Queen] album”. Taylor then
                      19   played the Infringing Work on HOT 97, and, possibly, through other outlets.
                      20          4.     This action is necessary to redress Maraj’s disregard and willful
                      21   infringement of Chapman’s rights under the Copyright Act, and to ensure that her
                      22   misconduct is not repeated.
                      23                                 Jurisdiction And Venue
                      24          5.     This action arises under the United States Copyright Act, 17 U.S.C. §§
                      25   101 et seq.
                      26          6.     This Court has exclusive jurisdiction over this action under 28 U.S.C.
                      27   §§ 1331 and 1338 in that this action involves claims arising under the Copyright
                      28   Act.
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                       1         7.      The Court has personal jurisdiction over the Defendants because each
                       2   of them is domiciled in and/or regularly transacts or solicits business in the State of
                       3   California.
                       4         8.      Venue in this District is proper under 28 U.S.C. § 1391 because
                       5   Defendants are subject to personal jurisdiction in this District.
                       6                                          The Parties
                       7         9.      Chapman is a resident of the State of California.
                       8         10.     Upon information and belief, Maraj is a resident of the State of
                       9   California, and, in any event, regularly conducts business in the State of California.
                      10         11.     Upon information and belief, Defendants John Does are one or more
                      11   individuals and/or entities who participated in, facilitated, encouraged, and/or had
                      12   supervisory authority over the infringement set forth herein, and are therefore
                      13   wholly or partially liable therefor.
                      14                                          Background
                      15                                      Tracy Chapman
                      16         12.     Chapman is a prominent and Grammy Award-winning singer,
                      17   songwriter and musician who first gained popularity in the 1980s. Chapman’s self-
                      18   titled debut album (the “Album”), which she released in 1988, features such hits as
                      19   the Composition and Fast Car.
                      20         13.     The Composition was a huge success, and reached the Top 50 on
                      21   Billboard Magazine’s Hot 100 chart.
                      22         14.     The Album also was a triumph, garnering Chapman a 1989 Grammy
                      23   Award for Best Contemporary Folk Album and a nomination for Album of the
                      24   Year. Chapman won two more Grammy Awards in 1989 for Best New Artist and
                      25   for Best Female Pop Vocal Performance for Fast Car.
                      26         15.     Chapman’s achievements continued long after the Album’s release.
                      27   Throughout the 1990s and 2000s, Chapman received several more Grammy
                      28   nominations, including for Best Rock Song for Give Me One Reason, which she
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                       1   won, and many other awards. At every turn, Chapman’s music has been critically
                       2   acclaimed and respected.
                       3                                    The Composition
                       4         16.    Chapman wrote the Composition between 1982 and 1983, and
                       5   obtained a copyright registration for the work (and other musical compositions) –
                       6   PAu000556755 – from the United States Copyright Office on October 20, 1983.
                       7         17.    After entering into a publishing administration agreement with
                       8   Chapman and receiving a partial assignment of the copyright in the Composition,
                       9   SBK April Music, Inc. (“SBK”) obtained a copyright registration for the
                      10   Composition – PA0000417830 – on or about May 5, 1989, listing it and Purple
                      11   Rabbit Music, Chapman’s publishing designee, as the copyright claimants in
                      12   Composition.
                      13         18.    In or around May 2016, SBK’s rights in the Composition transferred
                      14   back to Chapman, making her the sole owner of the copyright in the Composition.
                      15                                  The Infringing Work
                      16         19.    Upon information and belief, Maraj recorded the Infringing Work with
                      17   the intention of including it on her album Queen, which she released on or about
                      18   August 10, 2018.
                      19         20.    The Infringing Work incorporates the lyrics and vocal melody of the
                      20   Composition, its most recognizable and memorable parts. Maraj recorded the
                      21   Infringing Work using these parts of the Composition without first seeking the
                      22   authorization to do so.
                      23         21.    The Composition’s lyrics and vocal melody comprise approximately
                      24   half of the Infringing Work, and are easily recognizable and identifiable as
                      25   Chapman’s.
                      26         22.    The amount and substantiality of the use as compared to the
                      27   Composition is significant. Indeed, the Infringing Work uses almost all of the
                      28
M ANATT , P HELPS &
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                       1   Composition’s lyrics, demonstrating that the two works are strikingly similar. 1
                       2         23.    It was only after Maraj recorded the Infringing Work that she and/or
                       3   her representatives sought Chapman’s consent to use the Composition.
                       4         24.    On or around June 26, 2018, a representative from DMG Clearances,
                       5   Inc. (“DMG”) sent Chapman’s business managers and administrators of her
                       6   publishing rights an e-mail informing them that she had an “A LIST artist” who
                       7   wanted to use the Composition, and asking if Chapman was still on a “do not
                       8   sample or interpolate list”.
                       9         25.    On or around July 10, 2018, in response to a request for more
                      10   information regarding the request, the representative from DMG e-mailed a letter to
                      11   Chapman’s business manager, stating that she was “working on a sample clearance
                      12   for . . . recording artist Nicki Minaj”.
                      13         26.    In the same letter, the representative admitted, “In the song . . . [Maraj]
                      14   has used interpolations from [the Composition].” (Emphasis added) The
                      15   representative continued, “Because of the nature of this clearance, the rights that we
                      16   are looking to secure include the right to use this sample in our new composition in
                      17   all audio configurations, now known or hereinafter devised, throughout the world,
                      18   in perpetuity including music video rights and digital downloads and ring tones/ring
                      19   tunes.”
                      20         27.    On or around July 16, 2018, Chapman, through her business managers,
                      21   notified DMG that she would not consent to the use of the Composition in the
                      22   Infringing Work.
                      23         28.    Notwithstanding the clear and unequivocal denial of the requested
                      24   license, on or around July 27, 2018, Gee Roberson, who identified himself as
                      25   Maraj’s manager, e-mailed Chapman’s business managers, requesting that they
                      26   connect Chapman with Maraj to discuss an “idea [of Maraj’s] that is one of the
                      27   1
                            A chart comparing the lyrics of the Composition with the lyrics of the Infringing
                      28   Work is appended hereto as Exhibit 1.
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                       1   most personal for her that was inspired by [Chapman’s] art that [Maraj] would like
                       2   the opportunity to touchbase (sic) with [Chapman] about.” Roberson followed up
                       3   on his e-mail with a phone call to Chapman’s business manager.
                       4         29.   Despite the communications between DMG and Roberson, on the one
                       5   hand, and Chapman’s representatives, on the other hand, and the blatant use of the
                       6   Composition in the Infringing Work, on or around July 31, 2018, Maraj tweeted
                       7   that she “had no clue [the Infringing Work] sampled the legend #Tracy Chapman –
                       8   do I keep my date & lose the record? Or do I lose the record & keep my date? [D]o
                       9   we push #Queen back 1week (sic)? Ugh! I’m torn, y’all help”. The tweet has since
                      10   been deleted.
                      11         30.   On information and belief, on the same day, Maraj published another
                      12   tweet in which she reached out to Chapman to ask her to clear the license to use the
                      13   Composition in the Infringing Work.
                      14         31.   On information and belief, on the same day, Maraj also asked her
                      15   Twitter followers to vote on whether to delay the release of the then-forthcoming
                      16   album Queen in order to obtain the necessary license for the Infringing Work, or to
                      17   release Queen without the Infringing Work.
                      18         32.   On or around August 8, 2018, Peter Bittenbender called Chapman’s
                      19   attorney to discuss the Infringing Work and Queen. On the call, Bittenbender noted
                      20   that he was asked to telephone Chapman’s attorney on behalf of the producer of the
                      21   Infringing Work.
                      22         33.   Following that conversation, Chapman’s attorney sent a confirmatory
                      23   e-mail to Bittenbender, copying Roberson, to confirm (again) that Chapman had not
                      24   licensed the use of the Composition.
                      25         34.   On August 10, 2018, Maraj commercially released Queen without the
                      26   Infringing Work.
                      27         35.   On or around the same day, and in response to Chapman’s attorney’s
                      28   e-mail, Roberson confirmed that he already had been “made aware of the denied
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                       1   use” of the Composition in the Infringing Work.
                       2         36.   On information and belief, on August 11, 2018, Maraj again took to
                       3   Twitter, this time tweeting, “Sis said no”, apparently referring to Chapman’s
                       4   continued denial of Maraj’s request to use the Composition.
                       5         37.   Nevertheless, on information and belief, Maraj, or someone acting at
                       6   her direction, reproduced and distributed the Infringing Work to Taylor with the
                       7   understanding and expectation that Taylor would play the Infringing Work and
                       8   thereby promote both it and Queen.
                       9         38.   On August 11, 2018, Taylor published a series of tweets on Twitter,
                      10   teasing the Infringing Work’s public release on his HOT 97 radio show, repeatedly
                      11   indicating that Maraj gave him a copy of the Infringing Work.
                      12         39.   Specifically, at 10:55 a.m. (PT) on August 11, 2018, Taylor tweeted,
                      13   “Shhhhhhh!!!! TONIGHT 7PM!!! NICKY GAVE ME SOMETHING!!!
                      14   @nickiminaj ft @nas !!! (NOT ON HER ALBUM!) GONNA STOP THE CITY
                      15   TONIGHT!!!!!!!!!!!!!”
                      16         40.   At 11:34 a.m. (PT) on August 11, 2018, Taylor tweeted,
                      17   “Shhhhhhh!!!! TONIGHT 7PM!!! NICKI GAVE ME SOMETHING!!!
                      18   @nickiminaj ft @nas !!! (NOT ON HER ALBUM!) GONNA STOP THE CITY
                      19   TONIGHT!!!!!!!!!!!!!”
                      20         41.   At 12:29 p.m. (PT) on August 11, 2018, Taylor tweeted,
                      21   “Shhhhhhh!!!! TONIGHT 7PM!!! I GOT SOMETHING!!! @nickiminaj ft @nas
                      22   !!! (NOT ON HER ALBUM!) GONNA STOP THE CITY TONIGHT!!!!!!!!!!!!!”
                      23   At the end of the tweet, Taylor included an link to his Instagram account, where he
                      24   had an identical Instagram post.
                      25         42.   At 2:36 p.m. (PT) on August 11, 2018, Taylor responded to a tweet in
                      26   which a user asked, “Anyone have a link or know how to listen to @funkflex
                      27   tonight at 7pm live for when that @NICKIMINAJ and @Nas song drops?” by
                      28   saying, “Hot97 App!!!!!”
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                       1         43.     At 7:32 p.m. (PT) on August 11, 2018, Taylor again tweeted,
                       2   “EXCLUSIVE: @FunkFlex Debuts NEW @NickiMinaj Ft. Nas - Sorry -
                       3   http://tinyurl.com/y9shont9 #IFWT”. The link provided in the tweet connects to
                       4   Taylor’s website, which, until recently, included an embedded video player that
                       5   played the Infringing Work.
                       6         44.     On information and belief, Taylor played the Infringing Work on air
                       7   on his radio show on HOT 97 on the evening of August 11, 2018.
                       8         45.     After Taylor played the Infringing Work, many Internet users
                       9   reproduced the Infringing Work, and published it on several different websites.
                      10         46.     Additionally, on information and belief, on August 13, 2018, portions
                      11   of the Infringing Work, including portions that use the Composition, were played
                      12   on the “Breakfast Club” radio show on another popular New York City radio
                      13   station, Power 105.1.
                      14                               The Harm Caused By Maraj
                      15         47.     The decision to grant or not grant a license for the use of a
                      16   composition in a derivative work is multi-faceted. Among other considerations that
                      17   factor into such a decision are (1) whether the author whose composition would be
                      18   used wants to be associated with the derivative work or the artists featured on the
                      19   work; (2) the amount of compensation offered; and (3) the proposed use’s likely
                      20   effect on the market, including whether it will positively or negatively affect future
                      21   demand for the use of the composition in question.
                      22         48.     As a result of the unauthorized use of the Composition in the
                      23   Infringing Work and the subsequent distribution of the Infringing Work despite
                      24   Chapman’s clear and repeated denials of Maraj’s license requests, Maraj
                      25   wrongfully deprived Chapman of the right and opportunity to decide whether to
                      26   allow the use of the Composition, and, if so, on what terms. Maraj, thus, has
                      27   caused Chapman to incur substantial injury, loss and damage as a result of her
                      28   wrongdoing.
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  P HILLIPS , LLP                                                                                 COMPLAINT AND
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                       1
                       2                            FIRST CLAIM FOR RELIEF
                                        (Copyright Infringement Against Maraj and Does 1-10)
                       3
                                  49.   Chapman repeats and realleges each and every allegation contained in
                       4
                           Paragraphs 1 through 48 of the Complaint as if fully set forth herein.
                       5
                                  50.   Chapman is the exclusive owner of the copyright in the Composition,
                       6
                           and, as such, has the exclusive rights under the Copyright Act, among other things,
                       7
                           to reproduce, distribute, prepare derivative works from and otherwise exploit the
                       8
                           Composition, and to allow or not allow third parties to exercise such rights.
                       9
                                  51.   Chapman never authorized Maraj or anyone working with her, for her,
                      10
                           on her behalf, or at her direction to use the Composition in any manner. To the
                      11
                           contrary, Chapman, through her representatives, denied Maraj’s requests to license
                      12
                           the Composition for use in the Infringing Work.
                      13
                                  52.   Despite the foregoing, Maraj, among other things, prepared the
                      14
                           Infringing Work using the Composition, thereby infringing Chapman’s exclusive
                      15
                           right under the Copyright Act to prepare derivative works from the Composition.
                      16
                                  53.   Additionally, upon information and belief, Maraj thereafter reproduced
                      17
                           the Infringing Work and distributed it, thereby infringing Chapman’s exclusive
                      18
                           rights under the Copyright Act to reproduce and distribute the Composition.
                      19
                                  54.   Maraj’s infringement of Chapman’s rights under the Copyright Act
                      20
                           was deliberate and willful.
                      21
                                  55.   The fact that the Infringing Work does not appear on Queen does not
                      22
                           relieve Maraj of liability to Chapman for her infringement or make Maraj’s
                      23
                           wrongdoing any less deliberate and willful.
                      24
                                  56.   By reason of Maraj’s infringement, Chapman has sustained substantial
                      25
                           injury, loss and damage in an amount to be determined at trial, and, upon
                      26
                           information and belief, Maraj has derived income and profits to which she is not
                      27
                           entitled.
                      28
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                       1           57.   As a result of Maraj’s actions, the Infringing Work is available through
                       2   multiple websites hosted by Internet service providers all of the world. If Maraj is
                       3   permitted to continue to use the Composition in the Infringing Work and/or not
                       4   required to take reasonable steps to stop the continued exploitation of the Infringing
                       5   Work, Chapman will suffer injury that is not compensable through an award of
                       6   money damages, and for which she has no adequate remedy at law.
                       7                                      Prayer for Relief
                       8           WHEREFORE, Chapman prays for judgment as follows:
                       9           A.    Permanently enjoining and restraining Maraj and her agents, servants
                      10   and employees, and all other persons in active concert and participation with her or
                      11   acting on her behalf, and each of them, from copying or otherwise using or
                      12   exploiting the Infringing Work, including its interpolation of the Composition;
                      13           B.    Permanently enjoining and requiring Maraj and her agents, servants
                      14   and employees, and all other persons in active concert and participation with her or
                      15   acting on her behalf, and each of them, to take reasonable steps to prevent third
                      16   parties from using or exploiting the Infringing Work, including its interpolation of
                      17   the Composition;
                      18           C.    Awarding Chapman, at her election, either (i) actual damages and the
                      19   profits derived by Maraj as a result of Maraj’s infringing activities, or (ii) statutory
                      20   damages in the maximum amount permitted under applicable law;
                      21           D.    Directing that Maraj pay Chapman the costs of this action and her
                      22   attorneys’ fees herein;
                      23           E.    Award Chapman pre-judgment and post-judgment interest on any
                      24   monetary award; and
                      25           F.    Granting Chapman such other and further relief as the Court may deem
                      26   just and proper.
                      27   / / /
                      28   / / /
M ANATT , P HELPS &
  P HILLIPS , LLP                                                                                  COMPLAINT AND
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                       1                             DEMAND FOR JURY TRIAL
                       2         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Chapman
                       3   hereby demands her right to trial by jury of all claims in this Action triable by jury.
                       4
                           Dated: October 22, 2018                    MANATT, PHELPS & PHILLIPS, LLP
                       5
                       6                                              By: s/ Robert A. Jacobs
                       7                                                  Robert A. Jacobs
                                                                          Maura K. Gierl
                       8
                                                                          Attorneys for Plaintiff
                       9                                                  TRACY CHAPMAN
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M ANATT , P HELPS &
  P HILLIPS , LLP                                                                                  COMPLAINT AND
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                       1                                      EXHIBIT 1
                                                           Comparison Chart
                       2                                (Identical lyrics bolded)
                       3           Baby Can I Hold You                                  Sorry
                       4            (the Composition)                          (the Infringing Work)
                           Sorry                                    Hey, baby
                       5
                           Is all that you can’t say                Even though you break my heart
                       6   Years gone by and still                  I still love you
                           Words don’t come easily                  Sorry
                       7
                           Like sorry like sorry                    Is all that you can’t say
                       8                                            Years gone by and still
                           Forgive me                               Words don’t come easily
                       9
                           Is all that you can’t say                Like forgive me (forgive me)
                      10   Years gone by and still                  And you can say, baby (baby)
                           Words don’t come easily                  My baby, can I hold you tonight?
                      11
                           Like forgive me forgive me               And maybe if I told you the right
                      12                                            words
                           But you can say baby                     Ooh, at the right time
                      13
                           Baby can I hold you tonight              You’d be Nas
                      14   Maybe if I told you the right words      Ayo
                           At the right time you’d be mine          That bitch is always flippin’
                      15
                                                                    You n****s never listen
                      16   I love you                               We make a perfect team
                           Is all that you can’t say                Balling Jordan and Scottie Pippen
                      17
                           Years gone by and still                  But I’ma let you dip in
                      18   Words don’t come easily                  That wax sauce drippin’
                           Like I love you I love you               Said that when you with a boss bitch,
                      19
                                                                    now you can tell the difference
                      20   But you can say baby                     You be like jungle digger
                      21   Baby can I hold you tonight              I don’t want another n***a
                           Maybe if I told you the right words      I wanna make you ‘bout a legend, but I
                      22   Ooh, at the right time you’d be mine     make you bigger
                      23                                            Tinkerbell, Peter Pan
                           Baby can I hold you tonight              No bitches badder than me when I pull
                      24   Maybe if I told you the right words      up
                      25   At the right time you’d be mine          Got ‘em screaming like a temper tan’
                                                                    Ayo, DJ, drop the beat
                      26   You’d be mine                            My gun didn’t fall but I drop the heat
                      27                                            I love how we kept it on the low, mad
                           You’d be mine                            discreet (I’m in a rush!)
                      28
M ANATT , P HELPS &
  P HILLIPS , LLP
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                                                                                                   EXHIBIT 1
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                       1       Baby Can I Hold You                                  Sorry
                       2        (the Composition)                         (the Infringing Work)
                                                                Pass me the keys to my jeep (truck)
                       3                                        I hit ‘em with it, I’ma kill ‘em with that
                       4                                        wine wine
                                                                Ain’t losin’ watches, but with me, he
                       5                                        always find time
                       6                                        We keep it classy when we eatin’ it’s
                                                                that fine dine
                       7                                        But between love and hate, baby, it’s a
                       8                                        fine line
                                                                Sorry
                       9                                        Is all that you can’t say
                      10                                        Years gone by and still
                                                                Words don’t come easily
                      11                                        Like forgive me (forgive me)
                      12                                        And you can say, baby (baby)
                                                                My baby, can I hold you tonight?
                      13                                        And maybe if I told you the right
                      14                                        words
                                                                Ooh, at the right time
                      15                                        You’d be Nas
                      16                                        A mack
                                                                I used to mack with the MAC on me
                      17                                        Project parties, lights off, mad horny
                      18                                        Dutty wine and feel the gun I’m hidin’
                                                                She still grindin’ on me, smilin’ at me
                      19                                        I’m like “Hi, I’m Nasty”
                      20                                        “God bless ya, met ya’”
                                                                Thought you were sexy as ever
                      21
                                                                Flexing with your ex, I couldn’t
                      22                                        disrespect ya’
                                                                Later on, I undress ya, couldn’t wait to
                      23
                                                                sex ya’
                      24                                        Made a n***a wait so long, but it was
                                                                special
                      25
                                                                Light travel faster than sound
                      26                                        Lightning strike one second every point
                                                                two miles
                      27
                                                                So when you first saw me emerge from a
                      28                                        weed cloud
M ANATT , P HELPS &
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                            2                                    EXHIBIT 1
     LOS A NG EL ES
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                       1       Baby Can I Hold You                                 Sorry
                       2        (the Composition)                         (the Infringing Work)
                                                                Electricity touch your soul, that’s how I
                       3                                        get down
                       4                                        Gangsta love
                                                                Completing each other
                       5                                        Touching tongues so close, we could
                       6                                        breathe for each other
                                                                Untouchable boy with the illustrious girl
                       7                                        But maybe being together’s too much for
                       8                                        the world, sorry
                                                                Sorry
                       9                                        Is all that you can’t say
                      10                                        Years gone by and still
                                                                Words don’t come easily
                      11                                        Like forgive me (forgive me)
                      12                                        And you can say, baby (baby)
                                                                My baby, can I hold you tonight?
                      13                                        And maybe if I told you the right
                      14                                        words
                                                                Ooh, at the right time
                      15                                        You’d be Nas
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  P HILLIPS , LLP
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                                                            3                                   EXHIBIT 1
     LOS A NG EL ES
